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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 HALLIBURTON ENERGY SERVICES §
      Plaintiff              §
                             §
 vs.                         §                         CASE NO. 4:02-CV-269
                             §
 SMITH INTERNATIONAL INC.    §
      Defendant              §

                                          ORDER

      Pursuant to the Fifth Circuit’s Order remanding this case back this Court and the parties’

settlement agreement, the Court ORDERS that this case be CLOSED.

     So ORDERED and SIGNED this 26th day of June, 2006.




                           __________________________________
                           LEONARD DAVIS
                           UNITED STATES DISTRICT JUDGE




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